       Case 1:21-cv-00309-ELH         Document 310          Filed 03/17/25       Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                      (Northern Division)

 THE ESTATE OF DAVID JOHN                         *
 BOSHEA
                                                  *
        Plaintiff,
                                                  *       Case No. 1:21-CV-00309-ELH
        v.
                                                  *
 COMPASS MARKETING, INC.
                                                  *
        Defendant.
                                                  *

 *      *       *      *       *      *       *       *       *      *       *        *        *

                SUGGESTION OF DEATH ON THE RECORD UNDER
             RULE 25(a)(1) and MOTION FOR SUBSTITUTION OF PARTY

       Counsel for David John Boshea, the Plaintiff, gives notice and suggests on the record,

under Rule 25(a)(1) of the Federal Rules of Civil Procedure, Counsel discovered David John

Boshea’s death. Mr. Boshea passed away on January 28, 2025. Counsel has attached his Death

Certificate as Exhibit A. Ashley Boshea will serve as the appointed administrator of the estate of

David John Boshea.

       Under Rule 25(a) of the Federal Rules of Civil Procedure, it is requested that “Ashley

Boshea, administrator of the Estate of David John Boshea, Deceased” be substituted in place of

“David John Boshea” as plaintiff in this action, so that Decedent’s claims survive, and the action

on her behalf may proceed.

       The request under this Motion is not sought for delay, but so that justice may be done.

                                     /s/ Gregory J. Jordan
                                     Gregory J. Jordan
                                     Mark Zito
                                     Jordan & Zito, LLC
                                     350 N. LaSalle Drive, Suite 700
                                     Chicago, Illinois 60654
Case 1:21-cv-00309-ELH    Document 310      Filed 03/17/25   Page 2 of 2



                         Email: gjordan@jz-llc.com

                         and

                         Thomas J. Gagliardo
                         Gilbert Employment Law, PC
                         1100 Wayne Avenue, Suite 900
                         Silver Spring, Maryland 20910
                         Email: tgagliardo@gelawyer.com

                         Attorneys for David John Boshea




                                  2
